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13
                         IN THE UNITED STATES DISTRICT COURT
14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
15

16   WPENGINE, INC., a Delaware corporation,        Case No. 3:24-cv-06917-AMO

17                  Plaintiff,                      DEFENDANTS’ CERTIFICATION OF
                                                    INTERESTED ENTITIES OR PERSONS
18         vs.
                                                    Judge: Hon. Araceli Martinez-Olguin
19   AUTOMATTIC INC., a Delaware
20   corporation; and MATTHEW CHARLES
     MULLENWEG, an individual,
21
                    Defendants.
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                                                                   Case No. 3:24-cv-06917-AMO
                 DEFENDANTS’ CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
        Case 3:24-cv-06917-AMO Document 23 Filed 10/21/24 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Automattic Inc. and Matthew

 2 Charles Mullenweg disclose the following:

 3          Automattic Inc. has no parent corporation. Salesforce is a publicly held corporation which

 4 owns 10% or more of Automattic’s stock.

 5          Pursuant to Civil Local Rule 3-15, the undersigned certifies that the following listed

 6 persons, associations of persons, firms, partnerships, corporations (including parent corporations)

 7 or other entities (i) have a financial interest in the subject matter in controversy or in a party to the

 8 proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

 9 substantially affected by the outcome of this proceeding:

10          1. Automattic Inc.: Defendant

11          2. Matthew Charles Mullenweg: Defendant

12          3. WordPress Foundation: owner of trademarks implicated by proceeding

13          4. Tiger Global: Shareholder of Automattic Inc.

14          5. Shareholders who own less than 10% of Automattic Inc.

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16          Pursuant to Civil Local Rule 3-15, the undersigned certifies that as of this date, there is no

17 conflict of interest (other than the named parties) to report.

18

19 Dated: October 21, 2024                       By: /s/ Michael M. Maddigan
20                                                       Michael M. Maddigan

21                                                     HOGAN LOVELLS US LLP
                                                         Michael M. Maddigan (Bar No. 163450)
22                                                       Neal Kumar Katyal, pro hac vice pending
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25                                                        Matthew Charles Mullenweg
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                                                -1-                   Case No. 3:24-cv-06917-AMO
                    DEFENDANTS’ CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
